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14
                                         UNITED STATES DISTRICT COURT
15
                                      NORTHERN DISTRICT OF CALIFORNIA
16
                                               SAN JOSE DIVISION
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     COREPHOTONICS, LTD.                                  Case No. 5:17-cv-06457-LHK
19
                                  Plaintiff,
20                                                        NOTICE OF INSTITUTION OF INTER
     vs.                                                  PARTES REVIEW OF U.S. PATENT
21                                                        NOS. 9,538,152 AND 9,402,032

22   APPLE INC.

23                                Defendant.

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                                                                           APPLE’S NOTICE OF IPR INSTITUTION –
     Case No. 5:17-cv-06457-LHK                      1.                                 ’152 AND ’032 PATENTS
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 1          Defendant Apple Inc. (“Apple”) hereby respectfully provides notice to the Court that the

 2   Patent Trial and Appeal Board (“PTAB”) of the U.S. Patent & Trademark Office has instituted inter

 3   partes review regarding all asserted claims of two of the patents-in-suit.

 4          Specifically, the PTAB instituted inter partes review of claims 1-4 of U.S. Patent No.

 5   9,538,152 and claims 1 and 13-15 of U.S. Patent No. 9,402,032 on all grounds raised in Apple’s

 6   Petition in each proceeding. Copies of the PTAB’s institution decisions are submitted herewith as

 7   Exhibits A and B, respectively.

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 9   DATED: December 6, 2018                           Respectfully submitted,
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     Case No. 5:17-cv-06457-LHK                       2.                                   ’152 AND ’032 PATENTS
